            Case 2:04-cr-20044-KHV Document 630 Filed 05/13/22 Page 1 of 2




                    In the United States District Court
                                FOR THE DISTRICT OF KANSAS
                                     (Kansas City Docket)

UNITED STATES OF AMERICA

                          Plaintiff,

       v.                                            Case No. 04-CR-20044-2

PAMELA TYLER,

                          Defendant.



                                      ENTRY OF APPEARANCE

        Assistant United States Attorney Kim Flannigan hereby enters her appearance as attorney

of record for the plaintiff herein.

                                             Respectfully Submitted,

                                             DUSTON J. SLINKARD
                                             United States Attorney
                                             District of Kansas


                                             s/ Kim I. Flannigan
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         Case 2:04-cr-20044-KHV Document 630 Filed 05/13/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2022, the foregoing was electronically filed with the clerk

of the court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record in the above-captioned case.



                                              s/Kim I. Flannigan
                                              KIM I. FLANNIGAN, #13407
                                              Assistant United States Attorney




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